         Case 1:20-cr-00082-APM Document 52-4 Filed 09/16/20 Page 1 of 3




                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                  :                 Criminal No. 20-cr-82 (APM)
                                          :
            v.                            :
                                          :
TRICIA STEELE BOUTROS,                    :
                                          :
            Defendant.                    :
__________________________________________:

                            PROPOSED ORDER OF FORFEITURE

        WHEREAS, the Defendant entered a guilty plea to Count One of an Information

charging Bank Fraud, in violation of 18 U.S.C. § 1344;

        WHEREAS, the Information alleged that upon conviction of the offense in Count One,

the Defendant shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(2)(A), any

property constituting, or derived from, proceeds the Defendant obtained directly or indirectly, as

the result of the offense; and that the United States will seek a forfeiture money judgment equal

to the value of any property constituting, or derived from, proceeds the Defendant obtained

directly or indirectly, as the result of the offense;

        WHEREAS, as part of the Defendant’s plea agreement, the Defendant has agreed to

forfeit the following property, worth $496,054.41 to the United States:

 Asset ID Number        Description of Property
 19-FBI-007033          2018 VolvoXC60, Vehicle ID Number LYVA22RL3JB083645
 20-FBI-002099          $7,842.40 seized from Wealthfront account no. 8W651378
 20-FBI-002101          $7,141.81 seized from Mercury account no. 9800379436
 20-FBI-002104          $34,863.66 seized from Apex Clearing account no. 5QM53130
                        $253,564.53 seized from Morgan Stanley account nos. 504-048600-350
 20-FBI-002105          & 504-048601-350
                        $131,538.45 in funds seized from Charles Schwab account nos. 8681-
 20-FBI-002115          3057, 4935-8642, 440029496740
 20-FBI-002117          $28,034.56 in funds seized from Charles Schwab account no. 8354-1104
         Case 1:20-cr-00082-APM Document 52-4 Filed 09/16/20 Page 2 of 3



       WHEREAS, as part of the Defendant’s plea agreement, the Defendant agreed to the

forfeiture of the above property and the entry of a forfeiture money judgment in an amount

between $1,300,000 and $2,200,000, offset against the value of the above property;

       WHEREAS, pursuant to Fed. R. Crim. P. 32.2(b)(1), this Court determines, based on the

evidence and information before it, including the Defendant’s plea agreement and Statement of

Offense, that any property constituting, or derived from, proceeds the Defendant obtained

directly or indirectly, as the result of the offense in Count One is subject to forfeiture, pursuant to

18 U.S.C. § 982(a)(2)(A);

       WHEREAS, upon entry of a forfeiture order, Fed. R. Crim. P. 32.2(b)(3) authorizes the

Attorney General or a designee to conduct any discovery the Court considers proper in

identifying, locating, or disposing of property subject to forfeiture;

    NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

       1.       The following property is forfeited to the United States, pursuant to 18 U.S.C. §

18 U.S.C. § 982(a)(2)(A): any property constituting, or derived from, proceeds the Defendant

obtained directly or indirectly, as the result of the offense in Count One. This includes:

 Asset ID Number       Description of Property
                       2018 VolvoXC60, Vehicle ID Number LYVA22RL3JB083645, worth
 19-FBI-007033         $33,059.00
 20-FBI-002099         $7,842.40 seized from Wealthfront account no. 8W651378
 20-FBI-002101         $7,141.81 seized from Mercury account no. 9800379436
 20-FBI-002104         $34,863.66 seized from Apex Clearing account no. 5QM53130
                       $253,564.53 seized from Morgan Stanley account nos. 504-048600-350
 20-FBI-002105         & 504-048601-350
                       $131,538.45 in funds seized from Charles Schwab account nos. 8681-
 20-FBI-002115         3057, 4935-8642, 440029496740
 20-FBI-002117         $28,034.56 in funds seized from Charles Schwab account no. 8354-1104

       3.      A forfeiture money judgment is entered against the defendant in the amount of

$1,698,968.36, reflecting the difference between the property constituting or derived from


                                                      2
          Case 1:20-cr-00082-APM Document 52-4 Filed 09/16/20 Page 3 of 3



proceeds the Defendant obtained directly or indirectly as a result of the offense in Count One

($2,195,022.77) and the net value of the forfeited assets ($496,054.41);

         4. The Court shall retain jurisdiction to enforce this order, and to amend it as necessary,

pursuant to Fed. R. Crim. P. 32.2(e).

         5.   Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A), this Order is final as to the Defendant. It

shall be made part of the sentence and included in the judgment.

         5. The Attorney General or a designee, pursuant to Fed. R. Crim. P. 32.2(b)(3), is

authorized to conduct any discovery to identify, locate, or dispose of property subject to this

Order.

         6. The Clerk of the Court shall forward a certified copy of this Order to

USADC.AFMLS2@usdoj.gov.



         Dated this ________ day of _________________, 2020.




                                               _____________________________________
                                               THE HONORABLE AMIT P. MEHTA
                                               UNITED STATES DISTRICT JUDGE




                                                       3
